Case 1:24-cv-06129-OEM-LKE Document 1 Filed 09/03/24 Page 1 of 1 PageID #: 1




SHAKED LAW GROUP, P.C.
Dan Shaked, Esq.
14 Harwood Court, Suite 415
Scarsdale, NY 10583
Tel. (917) 373-9128
Email: ShakedLawGroup@gmail.com
Attorneys for Plaintiff and the Class

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
 RASHETA BUNTING, Individually and as the
 representative of a class of similarly situated persons,
                                                                Case No. 24-cv-6129
                                          Plaintiff,

                            - against -

 CLUB PILATES FRANCHISE, LLC and
 XPONENTIAL FITNESS, INC.,

                                            Defendants.
 -----------------------------------------------------------X


                                   COMPLAINT – CLASS ACTION

                                             INTRODUCTION

                 1. Plaintiff, Rasheta Bunting (“Plaintiff” or “Bunting”), brings this action on behalf

of herself and all other persons similarly situated against Club Pilates Franchise, LLC and

Xponential Fitness, Inc. (hereinafter jointly referred to as “Xponential Fitness” or “Defendants”),

and states as follows:

                 2. Plaintiff is a visually-impaired and legally blind person who requires screen-

reading software to read website content using her computer. Plaintiff uses the terms “blind” or

“visually-impaired” to refer to all people with visual impairments who meet the legal definition of

blindness in that they have a visual acuity with correction of less than or equal to 20 x 200. Some

blind people who meet this definition have limited vision; others have no vision.

                                                        1
